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                                                                                                 FILED
                                                                                        U .S . DISTRICT COURT
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA                              27 OCT 22 _ AM If : 08
                              STATESBORO DIVISION



UNITED STATES OF AMERICA

VS .                                                 Cr606-026-08

MISTRELL ALVIN


                                        ORDER

       The Court has considered the motion of the surety in this matter for exoneration o f

the cash bond posted with the Court February 15, 2007 . The defendant has been remanded to

the custody of the United States Marshal's Service following his conviction by jury trial . The

Motion is GRANTED .

        The Clerk is directed to return the two thousand five hundred dollars ($2,500 .00) to

Betty Bacon , 9395 Highway 169 North , Claxton , Georgia 30417, together with any and all

interest accrued thereupon .




        SO ORDERED this ay of October, 2007 .




                                      B . Avant Edenfiel d
                                      Judge, United States Distric 'iCourt
                                      Southern District of Georg a
